






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-10-00772-CR






Wendy Welch, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 390TH JUDICIAL DISTRICT

NO. D-1-DC-06-201125, HONORABLE JULIE H. KOCUREK, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


	Appellant Wendy Welch pleaded guilty to drug possession and was placed on
community supervision.  The trial court has certified that the case is a plea bargain case and that
appellant has no right to appeal.  See Tex. R. App. P. 25.2(a)(2).  We therefore dismiss the appeal. 
Tex. R. App. P. 25.2(d) (if trial court does not certify that defendant has right to appeal, "appeal must
be dismissed").


					___________________________________________

					David Puryear, Justice

Before Chief Justice Jones, Justices Puryear and Pemberton

Dismissed for Want of Jurisdiction

Filed:   December 17, 2010

Do Not Publish			


